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 7

 8                        IN THE UNITED STATES DISTRICT COURT

 9                            EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                 2:08-CR-00093-KJM
12               Plaintiff,                    STIPULATION AND APPLICATION FOR
                                               A MONEY JUDGMENT; ORDER
13         v.
14   CHARLES HEAD, et al.,
15               Defendants.
16

17         The United States and defendant Charles Head stipulate to the entry of a Money

18 Judgment based on the Application of the United States, as set forth below:

19         1. The Superseding Indictment in this case charges defendant Charles Head with

20 Conspiracy to Commit Mail Fraud and Mail Fraud in violation of 18 U.S.C. §§ 1341 and

21 1349. The Superseding Indictment included a forfeiture allegation. A Bill of Particulars

22 was filed on April 29, 2013, seeking a personal forfeiture money judgment in the amount

23 of $4,693,937.92.

24         2. On May 30, 2013, defendant Charles Head was found guilty of Count One which

25 charges him with Conspiracy to Commit Mail Fraud in violation of 18 U.S.C. § 1349, and

26 Counts Two, Three, Five and Six which charges him with Mail Fraud in violation of 18

27 U.S.C. § 1341.

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 1        3. Defendant Charles Head stipulates and agrees to forfeit voluntarily and

 2 immediately $2,000,000, as a personal money judgment pursuant to Fed. R. Crim. P.

 3 32.2(b)(1), which reflects a reasonable compromise between the parties for forfeiture

 4 purposes concerning the proceeds the defendant obtained as a result of violations of 18

 5 U.S.C. §§ 1341 and 1349, to which he has been found guilty.

 6        4. The government hereby applies for entry of a money judgment as follows:

 7               a. Pursuant to 18 U.S.C. § 981(a)(1)(C), 28 U.S.C. § 2461(c), and Fed. R. Crim.

 8 P. 32.2(b)(1), the Court shall impose a personal forfeiture money judgment against

 9 defendant Charles Head in the amount of $2,000,000.

10               b. The above-referenced personal forfeiture money judgment is imposed based

11 on defendant Charles Head’s conviction for violating 18 U.S.C. §§ 1341 and 1349. Said

12 amount reflects a reasonable compromise between the parties for forfeiture purposes

13 concerning the proceeds the defendant obtained, which the defendant agrees is subject to

14 forfeiture based on the offenses of conviction. Any funds applied towards such judgment

15 shall be forfeited to the United States of America and disposed of as provided for by law.

16        5. Payment of the personal forfeiture money judgment should be made in the form

17 of a cashier’s check made payable to the U.S. Department of the Treasury and sent to the

18 U.S. Attorney’s Office, Att: Asset Forfeiture Unit, 501 I Street, Suite 10-100, Sacramento,

19 CA 95814. Prior to the imposition of sentence, any funds delivered to the United States to

20 satisfy the personal money judgment shall be seized and held by the Internal Revenue

21 Service, Criminal Investigation in its secure custody and control.

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 1         6. This stipulation is not an admission of liability or guilt and in no way restricts or

 2 affects defendant Charles Head’s right to appeal the judgment or sentence in his criminal

 3 case.

 4 DATED: 9/16/2013                                BENJAMIN B. WAGNER
                                                   United States Attorney
 5

 6                                                 /s/ Kevin C. Khasigian
                                                   KEVIN C. KHASIGIAN
 7                                                 Assistant U.S. Attorney
 8

 9 DATED: 9-16-13                                  /s/ Charles Head
                                                   CHARLES HEAD
10                                                 Defendant
11

12 DATED: 9/16/13                                  /s/ Scott L. Tedmon
                                                   SCOTT L. TEDMON
13                                                 Attorney for Defendant
14                                                 (Original signatures retained by attorney)
15

16

17                                             ORDER

18         For good cause shown, the Court hereby imposes a personal forfeiture money

19 judgment against defendant Charles Head in the amount of $2,000,000. Any funds

20 applied towards such judgment shall be forfeited to the United States of America and

21 disposed of as provided for by law. Prior to the imposition of sentence, any funds delivered

22 to the United States to satisfy the personal money judgment shall be seized and held by

23 the Internal Revenue Service, Criminal Investigation, in its secure custody and control.

24         IT IS SO ORDERED.

25 DATED: September 18, 2013.

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27                                                     UNITED STATES DISTRICT JUDGE
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